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                                                            May 5, 2023

VIA ECF
The Honorable Margo K. Brodie
Chief United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

       Re:     United States v. Tim Leissner, 18 Cr. 439 (MKB)

Dear Chief Judge Brodie:

       We respectfully submit this letter and enclosures on behalf of our client, Mr. Roger Ng, in
connection with the Court’s amended preliminary order of forfeiture entered on March 3, 2023.
(Dkt. 68.) Thank you for your consideration.

                                                            Respectfully submitted,



                                                            Marc A. Agnifilo

cc:    Counsel for the Government (via ECF and Fedex)
